          3:17-cv-03139-SEM-TSH # 1                  Page 1 of 16                                         E-FILED
                                                                                Friday, 09 June, 2017 03:57:48 PM
                                                                                     Clerk, U.S. District Court, ILCD

                              IN THE UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                      SPRINGFIELD DIVISION

ALLIED WORLD SPECIALTY INSURANCE                               )
COMPANY f/k/a DARWIN NATIONAL                                  )
ASSURANCE COMPANY,                                             )
a Delaware Corporation,                                        )
                                                               )
                           Plaintiff,                          )    Case No.:
                                                               )
SIU PHYSICIANS & SURGEONS, INC.,                               )
an Illinois Corporation,                                       )    Jury Trial Demanded
                                                               )
                           Defendant.                          )


                         COMPLAINT FOR DECLARATORY JUDGMENT

          Plaintiff, Allied World Specialty Insurance Company f/k/a Darwin National Assurance

Company (“Allied World”), by and through its attorneys, BatesCarey LLP, and for its Complaint

for Declaratory Judgment, states as follows:

                                        NATURE OF THE ACTION

          1.      This is an insurance coverage dispute. Allied World issued four consecutive

    liability insurance policies to Defendant, SIU Physicians & Surgeons, Inc. (“SIU P&S”). Each

    policy is a “claims made and reported” policy, which means that any Claim1 reported to Allied

    World for coverage under one of the policies must be: (a) first made during the Policy Period

    of that policy, and (b) reported to Allied World as soon as practicable, but in no event later than

    90 days after the expiration of that policy. Otherwise, SIU P&S is not entitled to coverage for

    the Claim under that policy.




1
          Terms in bold are defined in the Allied World policies.
       3:17-cv-03139-SEM-TSH # 1             Page 2 of 16



       2.     During the Policy Period of the fourth Allied World policy, SIU P&S provided

first notice of a Claim to Allied World for coverage. The Claim arises out of a dispute between

SIU P&S and its former employee Dr. Sajida Ahad. The Claim, however, was not first made

and reported within 90 days of the expiration of any of the four Allied World policies.

Therefore, Allied World owes no coverage for the Claim under any of the four Allied World

policies.

       3.     Other terms and conditions of the Allied World policies also bar or limit coverage

for the Claim.

                                             PARTIES

       4.     Allied World is a corporation organized under the laws of Delaware with its

principal place of business located in New York.

       5.     SIU P&S is a corporation organized under the laws of Illinois with its principal

place of business located in Springfield, Illinois.

                                 JURISDICTION AND VENUE

       6.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 2201 and

2202, as Allied World seeks a declaration of the parties’ rights and obligations under the

policies issued by Allied World. Jurisdiction is also conferred by 28 U.S.C. § 1332(a), as

complete diversity exists between the parties and the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs.

       7.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391(b)(1) and

(2), in that SIU P&S is a resident within this District, and a substantial part of the events or

omissions giving rise to this action occurred within this District.




                                                 2
       3:17-cv-03139-SEM-TSH # 1             Page 3 of 16



                                  ALLIED WORLD POLICIES

       8.       Allied World issued four consecutive Healthcare Organizations Management

Liability Package Policies, each containing an Employment Practices Liability Coverage

Section (the “EPL Coverage Section”), to SIU P&S for the following Policy Periods:

November 4, 2013 to November 4, 2014 (the “2013 Policy”); November 4, 2014 to November

1, 2015 (the “2014 Policy”); November 1, 2015 to November 1, 2016 (the “2015 Policy”); and

November 1, 2016 to November 1, 2017 (the “2016 Policy”) (each a “Policy,” and, collectively,

the “Policies”). Each Policy contains an EPL Coverage Section Limit of Liability of $2 million,

subject to any applicable retention. True and accurate copies of the 2013 Policy, the 2014

Policy, the 2015 Policy, and the 2016 Policy are attached hereto as Exhibit A, B, C, and D,

respectively.

       9.       As relevant here, the Policies contain identical terms, conditions, and exclusions,

except for the Policy Period.

       10.      The Insuring Agreement set forth in Section I.A. in the EPL Coverage Section of

the Policies states as follows:

                The Insurer shall pay on behalf of any Insured the Loss arising from a
                Claim, first made during the Policy Period (or Discovery Period, if
                applicable) against such Insured for any Wrongful Act, and reported to
                the Insurer in accordance with Section V. of the General Terms and
                Conditions and Section IV. of this Coverage Section.

       11.      Section II.B. of the EPL Coverage Section of the Policies defines Claim to mean

any:

                (1)    written demand for monetary, non-monetary or injunctive relief
                       made against an Insured;

                (2)    judicial, administrative or regulatory proceeding, whether civil or
                       criminal, for monetary, non-monetary or injunctive relief,




                                                 3
       3:17-cv-03139-SEM-TSH # 1               Page 4 of 16



                         commenced against an Insured, including any appeal therefrom,
                         which is commended by:
                                (a) service of a complaint or similar pleading;
                                (b) return of an indictment or similar document (in the case
                                of a criminal proceeding); or
                                (c) receipt or filing of a notice of charges;

               (3)       arbitration or mediation proceeding commenced against an
                         Insured by service of a demand for arbitration or mediation;

               (4)       notification of an investigation of an Insured by the Equal
                         Employment Opportunity Commission (“EEOC”) or similar
                         governmental agency commenced by the filing of a notice of
                         charges, formal investigative order or similar document;

               (5)       audit of an Insured conducted by the United States of America
                         Office of Federal Contract Compliance Programs (“OFCCP”), but
                         only if commenced by the receipt of a notice of violation, order to
                         show cause, or a written demand for monetary or non-monetary or
                         injunctive relief; or

               (6)       written request to toll or waive the applicable statute of limitations,
                         or to waive any contractual time-bar, relating to a potential Claim
                         against an Insured for a Wrongful Act.

Section II.B. further provides that “[a] Claim shall be deemed first made when any Insured first

receives notice of the Claim.”

       12.     Section II.F. of the Policies’ General Terms and Conditions defines Related

Claims as “all Claims for Wrongful Acts based upon, arising out of, or in consequence of the

same or related facts, circumstances, situations, transactions or events or the same or related

series of facts, circumstances, situations, transactions or events.”

       13.     Section V.D. of the Policies’ General Terms and Conditions provides that “[a]ll

Related Claims shall be deemed to be a single Claim made on the date on which the earliest

Claim within such Related Claims was first made, or when the earliest Claim within such

Related Claims is treated as having been made in accordance with Section V.C. above,

whichever is earlier.”



                                                   4
       3:17-cv-03139-SEM-TSH # 1           Page 5 of 16



       14.     Section IV.A. of the EPL Coverage Section of the Policies provides, in relevant

part, that:

               The Insured(s) shall, as a condition precedent to the obligations of the
               Insurer under this Policy, give written notice to the Insurer at either the
               physical or email address indicated in Item 7. of the Declarations, of a
               Claim made against an Insured as soon as practicable after the
               Company’s General Counsel, Director of Human Resources or Risk
               Manager, or any individual with functionally equivalent responsibilities,
               becomes aware of the Claim.

       15.     Section V.B. of the General Terms and Conditions of the Policies provides, in

relevant part, that “in no event shall notice of any Claim be provided to the Insurer later than

ninety (90) days after the end of the Policy Period or Discovery Period if applicable.”

                                     THE AHAD CLAIM

                                      The EEOC Charge

       16.     Dr. Sajida Ahad is a former Assistant Professor of Surgery/Bariatric Surgeon at

the Southern Illinois University School of Medicine, and a female citizen of Pakistan of South

Asian national origin.

       17.     On or about July 28, 2014, Dr. Ahad filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (the “EEOC Charge”). The EEOC Charge named

the following as Respondents: (1) SIU P&S; (2) Southern Illinois School of Medicine (“SIU

SM”); (3) Southern Illinois University (“SIU”); and (4) SIU Healthcare, Inc. (“SIU HC”)

(collectively, the “Respondents”). A true and correct copy of the EEOC Charge is attached

hereto as Exhibit E.

       18.     Upon information and belief, Defendant SIU P&S first received notice of the

EEOC Charge during the Policy Period of the 2013 Policy, i.e. between November 4, 2013 and

November 4, 2014.




                                                5
       3:17-cv-03139-SEM-TSH # 1            Page 6 of 16



       19.     In the EEOC Charge, Dr. Ahad alleged discrimination based on sex and national

origin in violation of Title VII of the Civil Rights Act of 1964, as amended (“Title VII”) and the

Equal Pay Act (the “EPA”). Per the Charge, Dr. Ahad had written employment contracts

referencing obligations of SIU P&S and SIU SM, requiring that she be paid total estimated

annualized earnings of $250,000; however, she claims the Respondents underpaid her far below

the $250,000 annual required wage, as evidenced by her Form W-2s and payroll records. Dr.

Ahad asserted this conduct violated the visa regulations in the Code of Federal Regulations. Dr.

Ahad further asserted that the named Respondents are joint employers, and that SIU, SIU P&S,

SIU SM, and SIU HC – in their own capacities and as joint employers – directed, knew of, or

should have known of the discriminatory conduct and failed to take prompt corrective measures.

       20.     Dr. Ahad further asserted in the EEOC Charge that two other female, foreign-born

physicians also alleged discriminatory practices by the Respondents in complaints they made to

the Accreditation Council for Graduate Medical Education.           Dr. Ahad alleged that the

Respondents have: (a) engaged in a systematic pattern and practice of discriminating, based on

gender, against Dr. Ahad and other female employees; (b) used and continued to use an

employment policy and practice of providing wages and benefits to female employees, including

but not limited to Dr. Ahad and other females in similar physician and/or medical-professor

positions, that are less than wages and benefits paid and provided to male workers for

substantially similar and equal work; and (c) used and continued to use an employment policy

and practice of creating a hostile work environment and providing adverse terms and conditions

of employment to female employees, including but not limited to Dr. Ahad and other females in

similar physician and/or medical-professor positions, that are worse than those provided to male

workers in comparable positions.




                                                6
       3:17-cv-03139-SEM-TSH # 1           Page 7 of 16



       21.    Dr. Ahad also claimed in the EEOC Charge that the Respondents engaged in a

systemic pattern and practice of discriminating by underpaying wages and benefits and providing

adverse terms and conditions of employment with respect to Dr. Ahad and other employees of

South Asian national origin – or otherwise not of American national origin – and by

preferentially providing better wages, benefits and work conditions to American workers or other

non-South Asian workers, which discrimination is intentional. Dr. Ahad’s Charge cited

numerous male comparators whom she claims were paid more.               She also claimed other

physicians, surgeons and/or academic staff in medical areas who are male have worked for

Respondents in substantially similar positions performing equal work as Dr. Ahad, but were paid

more wages and/or benefits, which was discriminatory and intentional.

       22.    Dr. Ahad further claimed the Respondents failed to provide pregnancy leave

benefits, maternity leave benefits, and other benefits to her in the same manner as comparable

benefits (including pregnancy, maternity and paternity leave benefits) were provided to

American employees, non-South Asian employees and/or male employees, which was

discriminatory and intentional.   Dr. Ahad alleged the Respondents treated her adversely,

including but not limited to creating a hostile work environment, because she took two months of

pregnancy leave. When Dr. Ahad complained to Human Resources about adverse conduct

related to her leave, she allegedly was told the conduct occurred because Human Resources had

not conducted necessary training with the various chairs of the division as to what they should

say and do with regard to pregnant employees.

       23.    Dr. Ahad claimed that during their interactions with her and with other female

and/or South Asian or non-American employees, the Respondents engaged in unlawful and

discriminatory practices in violation of Title VII based on gender, national origin and descent,




                                                7
       3:17-cv-03139-SEM-TSH # 1            Page 8 of 16



the effect of which was to deprive Dr. Ahad and others in her protected classes of equal

employment opportunities.      She further alleged the Respondents violated the EPA, which

requires that men and women in the same workplace be given equal pay for substantially equal

jobs and work. Dr. Ahad asserted the Respondents’ policies, procedures and actions had a

disparate impact on females and/or South Asian employees who were treated adversely as a

result of the Respondents’ activities.

                                          The Lawsuit

       24.     On October 27, 2015, Dr. Ahad filed a Class Action and Collective Action

Complaint in the United States District Court for the Central District of Illinois, Case No. 15-cv-

3308, captioned Sajida Ahad, M.D. on behalf of herself and all others similarly situated v.

Southern Illinois School of Medicine, Southern Illinois University, Board of Trustees of Southern

Illinois University, SIU Healthcare, Inc., and SIU Physicians & Surgeons, Inc. (the “Lawsuit”).

In the Lawsuit, Dr. Ahad alleges that she has received unequal pay for equal work as compared

with her male colleagues for the approximately six years she worked for SIU SM and SIU P&S.

Dr. Ahad claims that after she resigned, her replacement – a male who recently completed his

residency – was paid a starting salary $75,000 higher than Dr. Ahad’s final salary. Dr. Ahad also

believes that, unlike her, her replacement was paid a $2,500 signing bonus and was guaranteed

annual income in excess of $300,000. Dr. Ahad’s Lawsuit indicates she is bringing suit on her

behalf and on behalf of other similarly-situated individuals. She asserts individual and collective

action claims under the EPA, Title VII, the Illinois Equal Pay Act of 2003, and the Illinois Civil

Rights Act of 2003. Paragraph 15 of the amended complaint in the Lawsuit expressly references

the prior filing of Dr. Ahad’s July 2014 EEOC Charge – inclusive of the Title VII discrimination

claims being alleged in her Lawsuit – and her receipt of a right-to-sue notice from the EEOC. A




                                                8
        3:17-cv-03139-SEM-TSH # 1            Page 9 of 16



true and correct copy of the October 27, 2015 Class Action and Collective Action Complaint is

attached hereto as Exhibit F. A true and correct copy of the October 12, 2016 Amended Class

Action and Collective Action Complaint is attached hereto as Exhibit G.

       25.      Upon information and belief, Defendant SIU P&S first received notice of the

Lawsuit during the Policy Period of the 2015 Policy, i.e. between November 1, 2015 and

November 1, 2016.

       26.      The EEOC Charge and the Lawsuit constitute Related Claims because they are

both Claims for Wrongful Acts based upon, arising out of, or in consequence of the same or

related facts, circumstances, situations, transactions or events or the same or related series of

facts, circumstances, situations, transactions or events. Therefore, the EEOC Charge and the

Lawsuit constitute a single Claim (the “Ahad Claim”) first made on the date on which the

earliest Claim within such Related Claims was first made.

                             INSURANCE COVERAGE DISPUTE

       27.      SIU P&S seeks insurance coverage from Allied World under one or more of the

Policies in connection with the Ahad Claim.

       28.      Allied World disputes that coverage exists for the Ahad Claim under any of the

 Policies.

       29.      An actual, present, and bona fide controversy exists between Allied World and

SIU P&S with respect to whether there is insurance coverage for the Ahad Claim under any of

the Policies.

       30.      A judicial declaration is necessary to establish the parties’ rights and duties, if

any, under the Policies.




                                                 9
        3:17-cv-03139-SEM-TSH # 1          Page 10 of 16



                        COUNT I – DECLARATORY JUDGMENT
                  (2013 Policy, 2014 Policy, 2015 Policy – Untimely Notice)

        31.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 30 as though set forth fully herein.

        32.   The 2013 Policy, the 2014 Policy, and the 2015 Policy each require the Insureds

to report any Claim as soon as practicable, but in no event later than 90 days after the expiration

of their respective Policy Periods.

        33.   SIU P&S first reported the Ahad Claim to Allied World on or after April 24,

2017.

        34.   SUI P&S did not report the Ahad Claim prior to April 24, 2017.

        35.   There is no coverage for the Ahad Claim under the 2013 Policy, the 2014 Policy,

or the 2015 Policy because SUI P&S reported the Ahad Claim more than 90 days after the

expiration of the 2013 Policy, the 2014 Policy, and the 2015 Policy.

                           COUNT II – DECLARATORY JUDGMENT
                            (2014 Policy, 2015 Policy, and 2016 Policy –
                            No Claim First Made During Policy Period)

        36.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 35 as though set forth fully herein.

        37.   The Ahad Claim is deemed first made during the 2013 Policy Period because

SIU P&S first received notice of the EEOC Charge during the 2013 Policy Period.

        38.   There is no coverage for the Ahad Claim under the 2014 Policy, the 2015 Policy,

or the 2016 Policy because the Ahad Claim is not a Claim first made during those Policy

Periods.




                                               10
      3:17-cv-03139-SEM-TSH # 1             Page 11 of 16



                           COUNT III – DECLARATORY JUDGMENT
                             (All Policies – Definition of “Insured”)

      39.     Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 38 as though set forth fully herein.

      40.     Pursuant to the Policies’ EPL Coverage Section Insuring Agreements, coverage is

only available for Loss on behalf of an Insured arising from a Claim against such Insured,

subject to the terms and conditions of the Policies.

      41.     Several of the respondents and/or defendants in the Ahad Claim are not Insureds

within the meaning of the Policies, including but not limited to Southern Illinois University,

Southern Illinois University School of Medicine, and the Board of Trustees of Southern Illinois

University.

      42.     Coverage is not available to any of these entities, or any other person or entity that

does not fall within the Policies’ definition of an Insured.

                           COUNT IV – DECLARATORY JUDGMENT
                              (All Policies – Definition of “Loss”)

      43.     Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 42 as though set forth fully herein.

      44.     Pursuant to the Policies’ EPL Coverage Section Insuring Agreements, coverage is

only available for Loss arising from a Claim.

      45.     Loss is defined under Section II.P. of the EPL Coverage Sections, as amended by

the Illinois State Amendatory Endorsement, to mean in relevant part:

              (1) damages, settlements, or judgments . . .
              (3) legal costs or attorneys fees awarded by a court in favor of the
                  claimant…
              (9) Defense Costs.

              “Loss” does not include:



                                                11
       3:17-cv-03139-SEM-TSH # 1             Page 12 of 16




                 (a)    amounts which an Insured is not legally obligated to pay;
                 (b)    taxes; other than as specifically included above in this Definition,
                        and only if insurable under law;
                 (c)    fines or penalties, other than as specifically included above in this
                        definition, and only if insurable under law;
                 (d)    amounts deemed uninsurable under law;
                 (e)    costs or liability incurred by any Insured to modify any building
                        or property to make it more accessible or accommodating to any
                        disabled person, or in connection with any educational, sensitivity
                        or other corporate program, policy or seminar; or
                 (f)    amounts paid or incurred by the Insureds to comply with a
                        judgment or settlement for non-monetary or injunctive relief.

                 However, this Coverage Section shall provide coverage for Defense Costs
                 incurred in a Claim seeking amounts specified in paragraphs (a) through
                 (f) above, subject to all other terms, conditions and exclusions of this
                 Policy.

       46.       The Illinois Amendatory Endorsement to each of the Policies further provides in

relevant part:

                 [N]o coverage shall be available for punitive, exemplary or multiplied
                 damages under this Policy, except as described below.

                 Provided, however, that it is understood and agreed under the laws of the
                 State of Illinois, punitive damages assessed against an Insured in an
                 otherwise covered Claim, may be insurable if such damages are based on
                 vicarious liability for the wrongful conduct of another, also referred to as
                 “vicariously assessed” punitive damages. It is understood and agreed that
                 directly-assessed punitive damages are not insurable under the laws of the
                 State of Illinois.

                 Only to the extent that the laws under which this policy is construed allow
                 for the insurability of such punitive damages, shall this Policy be deemed
                 amended to provide such coverage, subject to the Sublimit of Liability set
                 forth in Item 4.F. of the Declarations.

       47.       Coverage is not available for the Ahad Claim to the extent any Insured incurs

any amount in connection with the Ahad Claim that falls outside the definition of Loss or the

Illinois Amendatory Endorsement.




                                                 12
         3:17-cv-03139-SEM-TSH # 1           Page 13 of 16



                            COUNT V – DECLARATORY JUDGMENT
                         (All Policies – FLSA Violation Sublimit of Liability)

         48.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 47 as though set forth fully herein.

         49.   Section II.V. of the EPL Coverage Sections of the Policies provides that coverage

for FLSA Violations is limited to Defense Costs only, subject to the sublimit of liability set

forth in Item 4.F. of the Declarations.

         50.   Coverage for the Ahad Claim is barred or limited to the extent the FLSA

Violation sublimit of liability in Item 4.F. of the Declarations applies.

                            COUNT VI – DECLARATORY JUDGMENT
                                 (All Policies – Exclusion III.A.)

         51.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 50 as though set forth fully herein.

         52.   Exclusion III.A. of the Policies bars coverage for any Loss in connection with any

Claim:

               alleging, arising out of, based upon or attributable to any deliberate
               criminal or deliberate fraudulent act or any willful violation of law by an
               Insured if a final judgment or adjudication establishes that such act or
               violation occurred.

         53.   Coverage for the Ahad Claim is barred to the extent that Exclusion III.A. applies.

                            COUNT VII – DECLARATORY JUDGMENT
                                 (All Policies – Exclusion III.B.)

         54.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 53 as though set forth fully herein.

         55.   Exclusion III.B. of the Policies bars coverage for Loss in connection with any

Claim:




                                                 13
          3:17-cv-03139-SEM-TSH # 1          Page 14 of 16



                Alleging, arising out of, based upon or attributable to any actual or alleged
                liability of any Insured under any express contract or agreement; provided
                however, that this Exclusion shall not apply: (1) to the extent such liability
                which would have attached in the absence of such express contract or
                agreement; or (2) to the payment of Defense Costs for the portion of such
                a Claim against an Insured Person; or (3) to the payment of Defense
                Costs in that portion of such a claim against an Insured, for an actual or
                alleged breach of an Employment Contract.

          56.   Coverage for the Ahad Claim is barred or limited to the extent Exclusion III.B.

applies.

                            COUNT VIII – DECLARATORY JUDGMENT
                                 (All Policies – Exclusion III.F.)

          57.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 56 as though set forth fully herein.

          58.   Exclusion III.F. of the Policies bars coverage for Loss in connection with any

Claim:

                alleging, arising out of, based upon, attributable to or in any way relating
                to any actual or alleged bodily injury, sickness, mental anguish, emotional
                distress, disease or death of any person, or damage to or destruction of any
                tangible property, including the loss of use thereof; provided, however,
                that this Exclusion shall not apply to that portion of a Claim seeking
                damages for emotional distress or mental anguish resulting from a
                Wrongful Act of an Insured[.].

          59.   Coverage for the Ahad Claim is barred or limited to the extent Exclusion III.F.

applies.

                             COUNT IX – DECLARATORY JUDGMENT
                                   (All Policies – Public Policy)

          60.   Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 59 as though set forth fully herein.

          61.   Coverage is not available for the Ahad Claim to the extent prohibited by public

policy.



                                                 14
       3:17-cv-03139-SEM-TSH # 1           Page 15 of 16



                            COUNT X – DECLARATORY JUDGMENT
                       (All Policies – Known Loss/Loss in Progress Doctrine)

       62.     Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 61 as though set forth fully herein.

       63.     Coverage is not available for the Ahad Claim to the extent prohibited by the

known loss and/or the “loss in progress” doctrine.

                           COUNT XI – DECLARATORY JUDGMENT
                          (All Policies – Department of Labor Proceeding)

       64.     Allied World incorporates by reference each and every allegation set forth in the

preceding paragraphs 1 through 63 as though set forth fully herein.

       65.     Dr. Ahad filed a Complaint against SIU SM with the United States Department of

Labor Wage and Hour Division, which alleged that SIU SM provided incorrect or false

information on its Labor Condition Application, failed to pay nonimmigrant worker(s) the higher

of the prevailing or actual wage, failed to pay nonimmigrant worker(s) for time off due to a

decision by the employer or for time needed by the nonimmigrant worker(s) to acquire a license

or permit, and failed to provide fringe benefits to nonimmigrant worker(s) equivalent to those

provided to U.S. worker(s) (the “DOL Complaint”).

       66.     SIU SM received notice of the DOL Complaint on or about June 13, 2014.

       67.     It is unclear whether or not coverage is sought for the DOL Complaint under the

Policies.

       68.     To the extent coverage is sought for the DOL Complaint, coverage is unavailable

because SIU SM, the only respondent named in the DOL Complaint, is not an Insured under the

Policies.




                                               15
       3:17-cv-03139-SEM-TSH # 1             Page 16 of 16



       69.      Coverage is also barred or limited to the extent that the DOL Complaint

constitutes part of the Ahad Claim for the reasons set forth in Counts I-X.

       WHEREFORE, Plaintiff, Allied World Specialty Insurance company f/k/a Darwin

National Assurance Company, prays that this Court enter a judgment in its favor and against SIU

Physicians & Surgeons, Inc., awarding the following relief:

             a. A declaration that Allied World has no duty to defend or indemnify SIU P&S or

                any other Insured in connection with the matters reported to Allied World under

                the Policies;

             b. For costs of suit incurred herein; and

             c. For such other and further relief at law or in equity that the Court deems just and

                proper.

                                         JURY DEMAND

       Allied World demands a jury trial.


DATED:          June 9, 2017                   Allied World Specialty Insurance Company f/k/a
                                               Darwin National Assurance Company


                                               By: /s/ Ommid C. Farashahi
                                                         One of its Attorneys


Ommid C. Farashahi
BATESCAREY LLP
191 North Wacker, Suite 2400
Chicago, Illinois 60606
Ph.: 312-762-3100
Fax: 312-762-3200




                                                 16
